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                      OUNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


 REPUBLIC MAXIMAL LLC, et
 al.,

      Plaintiffs,



                                            C.A. No. 22-CV-10429-MLW
      V.

 ROMULUS   CAPITAL    PARTNERS II,
 LLC, et al.,




      Defendants


                              MEMORANDUM AND ORDER



WOLF, D.J.                                               August 15, 2024

     I.     INTRODUCTION!


     On    February     28,   2024,   the    court   denied   the   Romulus

Defendants'^ motion to dismiss Plaintiffs'^ claims that the Romulus


! The court presumes familiarity with the facts of this case, which
are summarized in relevant part in the June 25, 2024 Memorandum
and Order certifying an interlocutory appeal. Dkt. No. 91 at 1-5.
Capitalized terms not otherwise defined herein have the same
meaning as in the First Amended Complaint (Dkt. No. 90).

2 The "Romulus Defendants" are defendants Romulus Capital Partners
II, LLC, and Neil Chheda.

3 "Plaintiffs" are comprised of plaintiffs Republic Maximal LLC
("Republic"), Republic Master Fund, LP ("Republic Master Fund"),
EquipmentShare Growth One, LP, EquipmentShare Growth Two, LP,
EquipmentShare Growth Three, LP, EquipmentShare Romulus Close Two,
LP, EquipmentShare Secondary One, LP, EquipmentShare Secondary
Two, LP, EquipmentShare Secondary Three, LP, EquipmentShare
Secondary   2020,    LP,   EquipmentShare   Secondary    II,   LP,
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Defendants violated Section 10(b) of the Securities and Exchange

Act of 1934 (the "Exchange Act") and Securities and             Exchange

Commission Rule lOb-5, as well as Section 20(a) of the Exchange

Act. See Diet. No. 67 at 5-23 (transcript of oral decision); Dkt.

No. 92 (Memorandum and Order codifying oral decision). On June 25,

2024, the court issued a Memorandum and Order allowing the Romulus

Defendants' motion   to certify this decision        for   interlocutory

appeal pursuant to 28 U.S.C. §1292(b) (the "Certification Order",

Dkt. No. 91). Specifically, the court authorized the Romulus

Defendants to appeal its decision that Section 29(a) of the

Exchange Act bars the Romulus Defendants from invoking the Transfer

Agreements' non-reliance provisions to establish Plaintiffs' non-

reliance as a matter of law on a motion to dismiss. See id. at 3.

     The court found the standard for         an interlocutory appeal

satisfied in part because an immediate appeal "may materially

advance the ultimate termination of the litigation." Id. at 18

(quoting 28 U.S.C. §1292(b)). Since the original Complaint only

pled reliance on alleged extracontractual statements, the court
observed that Plaintiffs would be unable to plead plausible federal

claims if the First Circuit were to reverse this court and hold

that the Romulus Defendants can invoke the non-reliance clauses to




EquipmentShare Secondary III, LP, EquipmentShare Qualified 2020,
LP, EquipmentShare Qualified 2020 II, LP, EquipmentShare Qualified
2020 III, LP, and EquipmentShare Qualified 2020 IV, LP.
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establish Plaintiffs' non-reliance as a matter of law. See id. The


court     further    noted    that       if    it   dismissed      Plaintiffs'      federal


claims, it would also be required to dismiss Plaintiffs' remaining

state law claims for lack of supplemental jurisdiction. See id. at

19 (citing 28 U.S.C. §1367 and Wilber v. Curtis, 872 F.3d 15, 23

(1st Cir. 2017)).

      In    the     same     Memorandum         and    Order,       the    court    allowed

Plaintiffs' unopposed motion to amend the complaint (Dkt. No. 81).

The First Amended Complaint ("FAC", Dkt. No. 90) alleges for the

first      time     that      the        Romulus       Defendants          made    material

misrepresentations         within        the    four       corners    of    the    Transfer

Agreements        (i.e.,   alleges        that      the     Romulus       Defendants     made

intracontractual,             in          addition           to       extracontractual,

misrepresentations). Specifically,                    Plaintiffs      allege       that the

Romulus     Defendants       misrepresented           that    the     Transferors^       were

original investors in the Series A Fund by representing that each

of the Transferors had a "Subscription" to the Fund. See Dkt. No.

72   at    8-10;    Dkt.     No.    90    1125.       In   their     Opposition     to    the

Certification Motion (Dkt. No. 72), Plaintiffs argued that the

court should deny the Certification Motion because even if the

First Circuit held that Plaintiffs could not plead reliance on

extracontractual misrepresentations. Plaintiffs could still state



1 The "Transferors" are comprised of defendants Athena 2, Inc.,
SNC 1 LLC, and Apollol Inc.
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a Section 10(b) claim by pleading reliance on misrepresentations

within the Transfer Agreements. See Dkt, No. 72 at 8-10. Therefore,

Plaintiffs argued, an immediate appeal was not likely to materially

advance the termination of the litigation. See id.

     Plaintiffs' argument was not meritorious. See Dkt. No. 91 at

19-21.    The    court   found        that    the    definition      of "Subscription"

adopted by the parties in the Transfer Agreements includes both

original and subsequent investors in the Series A Fund. See id. at

20-21;    see    also    Dkt.    No.    80-1    at    1-5    (Partnership       Agreement

defining       "Subscription").          Therefore,         the     court      held   that

Plaintiffs failed to plausibly allege that the Romulus Defendants

made material misrepresentations within the four corners of the

Transfer       Agreements       and    stated       that    its     decision    to    allow

Plaintiffs' motion         to    amend did          not affect the merits of the

Certification Motion. See Dkt. No. 91 at 3, 20-21.

     On July 1, 2024, the Romulus Defendants filed a "Combined

Motion    to    Dismiss,    Motion       to    Certify      Order    for    Interlocutory

Appeal,    Request       for     Summary       Disposition,         and    Memorandum    of

Reasons," which they characterize as a "housekeeping measure"

designed to clarify the record on appeal (the "Combined Motion",

Dkt. No. 93). The Romulus Defendants note that the Certification

Order pertained to the original Complaint, which is now superseded

by the FAC. See id. at 1-2. To ensure that the interlocutory appeal

relates to the operative Complaint, the Romulus Defendants ask the
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court to deny their motion to dismiss the FAC on the same grounds

that it denied the original motion to dismiss, and to re-certify

an interlocutory appeal of the non-reliance clause issue as to the

FAC.   See   id.   The   Romulus   Defendants       "do   not   ask     the   Court   to


revisit any of its previous decisions." Id. at 4.

       On July 15, 2024, Plaintiffs opposed the Combined Motion,

disputing    the    Romulus    Defendants'     claim       that    it    is   a   "mere

'housekeeping measure'" and challenging the court's reasoning in

the Certification Order. See Dkt. No. 95 at 1-2. Plaintiffs argue

that the court misinterpreted the meaning of "Subscription" in its

Certification      Order      because   it    relied       on     "the    incomplete

definition" provided by the Romulus Defendants. See id. However,

Plaintiffs no longer contend that the Transferors did not hold

"Subscriptions" to the Series A Fund, as they argued in opposition

to the Certification Motion. See id. at 2; Dkt. No. 72 at 19-21.

Instead,     Plaintiffs    now     assert    that    the    Transfer      Agreements

misrepresent the         amount that the Transferors paid for their

Subscriptions. See Dkt. No. 95 at 2, 7-12. In essence. Plaintiffs

are asking the court to reconsider its Certification Order based

on an argument that they failed to raise in opposition to the

Certification Motion. See id. at 12 ("[T]he Romulus Defendants'

request for interlocutory certification provides this Court with

a deserved opportunity to revisit its ruling on the Certification

Motion.").
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      In a Reply memorandum (Dkt. No. 99), the Romulus Defendants

argue that Plaintiffs' have not satisfied the legal standard for

a   motion    for    reconsideration,        and   that their    latest theory of

intracontractual fraud is not pled with particularity in the FAC

as required by Federal Rule of Civil Procedure 9(b). See Dkt. No.

99 at 2-5. The Romulus Defendants further contend that Plaintiffs'

latest theory of fraud would fail even if it were properly pled.

See id. at 5-7.


      As     explained     in   this   Memorandum,        the   court    agrees   that

Plaintiffs          have   failed      to      justify      their       request   for

reconsideration of the Certification Order and that, in any case,

the FAC does not plausibly allege that the Romulus Defendants made

misrepresentations         within      the    four   corners     of     the   Transfer

Agreements.^        Therefore,      the      court   is    denying      the    Romulus

Defendants' motion to dismiss the FAC on the same grounds that it

denied their motion to dismiss the original Complaint, see Dkt.

No. 92, and certifying an interlocutory appeal of the renewed

motion to dismiss for the reasons stated in the June 25, 2024

Memorandum and Order concerning certification, see Dkt. No. 91.




5 The court is not deciding the merits of the Romulus Defendants'
claim that Plaintiffs' theory of fraud would fail even if properly
pled because the issue is not fully briefed and, in any event, may
become moot or at least of diminished importance as a result of
the First Circuit's decision on the issue being appealed.
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       II.   DISCUSSION


       In their opposition to both the Certification Motion and the

Combined     Motion,         Plaintiffs         have    argued       that    the     Romulus

Defendants    made      a    material     misrepresentation           in    the    following

clause in the Transfer Agreements:

       WHEREAS, under the terms of the Partnership Agreement, the
       Transferor is a Limited Partner with a Subscription to the
       Partnership purchased for a total of $[X].

Dkt.   No.   28,     Exs.        1-15   (the     "Subscription         Representation").

Specifically,        Plaintiffs         have     argued       that    the    Subscription

Representation       falsely          represents       that    the     Transferors        were

original investors in the Series A Fund. See Diet. No. 72 at 8-10;

Dkt.   No.   95    at    1-3.        However,    Plaintiffs      now    argue      that   the

Subscription Representation is false for a different reason than

they articulated in their opposition to the Certification Motion.

       Plaintiffs       originally       argued that the             Romulus      Defendants

misrepresented that the Transferors were original investors in the

Series A Fund by stating that they held a "Subscription" to the

Fund. See Dkt. No. 72 at 8-10. Citing the Romulus Defendants'

counterclaims, Plaintiffs argued that the term "subscribe" only

refers to original investors with limited partnership interests

("LP   Interests")          in   a    fund; subsequent investors,                 Plaintiffs

argued, are instead said to "purchase" or "acquire" their LP

Interests.     See      id.      However,       the    court    found       this    argument

contradicted by the definition of "Subscription" used in the Series
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A     Fund's   Limited       Partnership      Agreement       (the   "Partnership

Agreement"), which was incorporated by reference into the Transfer

Agreements. See Dkt. No. 28, Exs. 1-15 at 1 ("Capitalized terms

not otherwise        defined    herein   have the      same   meaning   as in   the

Limited Partnership Agreement of the Partnership[.]").

       In full, the Partnership Agreement defines "Subscription" as

follows:


       With respect to any Partner, the total amount that such
       Partner (and any predecessor in interest of a Partner that
       acquired an interest in the Partnership in a Transfer) has
       agreed to contribute to the Partnership as set forth in the
       Partnership's books and records maintained in a manner
       consistent with the Subscription Agreements of the Partners.
       The phrase "aggregate Subscriptions of all Partners" shall
       mean the total of all Subscriptions of all Partners as of the
       time of determination.


Dkt. No. 80-1 at 1-5 (emphasis added). Since this definition refers

to original investors as well as "Partner[s] that acquired an

interest in the Partnership in a Transfer," the court concluded

that it encompasses both original and subsequent investors. See

Dkt. No. 91 at 20-21. Therefore, the court held that the FAC failed

to plausibly allege that the Romulus Defendants made material

misrepresentations        within      the    four   corners    of    the   Transfer

Agreements. See id. at 21.

       Although Plaintiffs now claim that the court misinterpreted

the Partnership Agreement's definition of "Subscription," see Dkt.

No.    95 at    2,    they     no   longer   contend    that   the    Subscription

Representation is false because the Transferors did                        not own
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"Subscriptions" to the Series A Fund, of. Dkt. No. 72 at 8-10.

Instead, Plaintiffs argue that the Subscription Representation is

false     "because     it    misrepresents      the     amount       paid    for    the

Subscription[s]        to   deceive      Plaintiffs    about   the    size    of    the

interests in the Series A Fund sold by the Transferor[s]." Dkt.

No. 95 at 2 (holding and underlining in original). Therefore, the

issue    is     not that    the   court    misinterpreted      the   definition      of

"Subscription," but rather that Plaintiffs now argue that the

Subscription Representation is deceptive for a different reason

than they previously articulated. Cf. id. at 7 n.24 (Plaintiffs

stating that the Subscription Representation is misleading "even

if it is literally true to represent that the Transferors are LPs

'with a Subscription to the Partnership'" (emphasis added)).

        As stated earlier, the Subscription Representation states

that "the Transferor is a Limited Partner with a Subscription to

the Partnership purchased for a total of $[X]." Id. at 2 (emphasis

added by Plaintiffs). In each Transfer Agreement, the Subscription

Representation states how much the Transferor paid to purchase its

LP Interest (or "Subscription") in the Series A Fund, rather than

how much the original investor contributed to the Fund in exchange

for the Subscription. See Dkt. No. 28, Exs. 1-15; Dkt. No. 95 at

8-9;     Dkt.    No.   99   at    5-6.    Plaintiffs    contend      that    this    is

misleading. They state that "the price of [a] Subscription is -

and can only ever he - the amount of [the original investor's
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capital contribution to the Series A Fund]," Dkt. No. 95 at 2

(emphasis   in     original).    Therefore,     Plaintiffs    argue     that    the

Romulus Defendants misrepresented the value of the Subscriptions

by   stating      the   prices   that    the    Transferors     paid      for   the

Subscriptions, rather than the amounts that the original investors

paid for them. See id. at 2, 7-9.

     This argument is unpersuasive for two reasons. First, as noted

earlier. Plaintiffs are in essence asking the court to reconsider

its Certification Order based on an argument that they did not

previously make. "Motions for reconsideration are not to be used

as a vehicle for a party to advance arguments that could and should

have been presented to the district court prior to its original

ruling." Villanueva v. United States, 662 F.3d 124, 128 (1st Cir.

2011) (citing United States v. Allen, 573 F.3d 42, 53 (1st Cir.

2009)). Plaintiffs could have advanced this argument when they

opposed     the     Certification        Motion,     but     they      did      not.

"Reconsideration may be proper where the movant shows a manifest

error of law or newly discovered evidence, or where the district

court has misunderstood a party or made an error of apprehension."

Id. (citing Ruiz Rivera v. Pfizer Pharm., LLC, 521 F.3d 76, 81-82

(1st Cir. 2008)). However, Plaintiffs do not contend that the court

committed   a     "manifest   error     of   law"   in   allowing   the      Romulus

Defendants' original Certification Motion. See id. Nor have they

presented newly discovered evidence. See id. In addition, the court

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did not misunderstand or fail to apprehend the theory of fraud

that    Plaintiffs    advanced          when     they   opposed   the   Certification

Motion. See id. Therefore, Plaintiffs have not made the threshold

showing required for the court to reconsider the Certification

Order.


       Second, even if the court were to reconsider the Certification

Order, Plaintiffs' latest theory of fraud is not pled in the FAC

with particularity, as required by Federal Rule of Civil Procedure

9(b), which states that "ti]n alleging fraud or mistake, a party

must state with particularity the circumstances constituting fraud

or mistake." Fed. R. Civ. P. 9(b). Plaintiffs' new theory of fraud

is centered around the representation in the Transfer Agreements

that the Transferors each held Subscriptions "purchased for a total

of $[X]."      Dkt.   No.       95    at 2 (emphasis       in    original).   However,

Plaintiffs do not quote or reference this language anywhere in the
                            I




FAC. C^ Dkt. No. 90 5125 (quoting part of the Subscription

Representation but omitting this bolded text). Nor does the FAC

quote     or   cite   to    the       Partnership       Agreement's     definition   of

"Subscription." Instead, the FAC only adds allegations sufficient

to support the theory of fraud advanced in Plaintiffs' opposition

to the Certification Motion—namely, that it was "materially false

and     misleading"        to        represent      that   the     Transferors    held

"Subscriptions" to the Series A Fund. See Dkt. No. 90 55125, 171-

173, 214; of. Dkt. No. 72 at 19-21. As discussed earlier, this

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theory fails in view of the Partnership Agreement's definition of

"Subscription." See Dkt. No. 91 at 19-21. Therefore, the FAC fails

to plead with particularity facts necessary to plausibly allege

that   the   Romulus    Defendants   made    material   misrepresentations

within the four corners of the Transfer Agreements.

       An interlocutory appeal of the court's determination that the

non-reliance clauses do not establish Plaintiffs' non-reliance as

a matter of law for the purposes of deciding the motion to dismiss

remains appropriate for the reasons stated in the Certification

Order. See id. at 14-21. If the First Circuit reverses this court

and     holds    that    Plaintiffs        cannot   plead    reliance     on

extracontractual statements. Plaintiffs may file a second motion

to amend to add allegations supporting their latest theory of

intracontractual fraud, which the Romulus Defendants will likely

oppose. The court will then determine whether to allow or deny the

motion pursuant to Federal Rule of Civil Procedure 15(a)(2),

considering whether it is "characterized by 'undue delay, bad

faith, futility, [or] the absence of due diligence on the movant's

part.'" Calderon-Serra v. Wilmington Trust Co., 715 F.3d 14, 19

(1st Cir. 2013) (quoting Palmer v. Champion Mortq., 465 F.3d 24,

30 (1st Cir. 2006)).

       However, the court now finds it most appropriate to deny the

Romulus Defendants' motion to dismiss the FAC on the same grounds

as the first motion to dismiss, Dkt. No. 92, and to re-certify the

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non-reliance clause issue for interlocutory appeal for the reasons

stated in the Certification Order, Dkt. No. 91. The court finds

that the FAG, like the original Complaint, plausibly alleges that

during the negotiations surrounding the LP Interest Transactions,

the Romulus Defendants repeatedly misrepresented that the price

paid by the Transferors for their LP Interests was based on the

Series A Offering. See Dkt. No. 92 at 9. However, these alleged

misrepresentations         are        all     extracontractual■           Insofar    as   the

request for interlocutory appeal is concerned,                            the issue is not

whether      the   FAC   plausibly          alleges       any misrepresentations,         but

whether it plausibly alleges misrepresentations within the four

corners of the Transfer Agreements, which would not be subject to

the non-reliance clauses.              See    Dkt.       No.   91 at   18-21.    Because the

FAC   does     not    plausibly        allege       any    misrepresentations        in   the

Transfer      Agreements,        an     interlocutory            appeal    may    materially

advance the termination of this litigation for the reasons stated

in the Certification Order.                 See id.      at 18-19.

      III.    ORDER


      In view of the         foregoing,             it    is hereby ORDERED that          the

Romulus Defendants' "Combined Motion to Dismiss, Motion to Certify

Order for Interlocutory Appeal, Request for Summary Disposition,

and Memorandum of Reasons"                  (Dkt. No.      93)   is ALLOWED in part and

DENIED in part. The court is DENYING the motion to dismiss for the

reasons stated at the February 28, 2024 hearing, see Dkt. No. 67

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at 5-23, and the June 25, 2024 Memorandum and Order codifying its

oral decision, see Dkt. No. 92. The court is ALLOWING the motion

for interlocutory appeal for the reasons stated in its June 25,

2024   Memorandum    and   Order   allowing    the   Romulus   Defendants'

original motion for interlocutory appeal. See Dkt. No. 91.




                                          UNITED STATES DISTRICT JUDGE




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